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105660 - CENED
MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
SENTENCE BY A PERSON IN FEDERAL CUSTODY 701

 

 
 

 

 
  

 

 

 

 

 

 

 

BS bry Jan .
United States District Court District of Matpiar Sot Or Say
” <7
Name (under which you were convicted): ef Docket or Case Now¥
Nghia Hoang Pho 1:17-cr-00831-GLR

Place of Confinement: Prisoner No.:
Low Security Correctional Institution Butner 64014-037
UNITED STATES OF AMERICA _ Movant. (include name under which you were convicted)

y Nghia Hoang Pho

 

 

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MOTION

(a) Name and location of court that entered the judgment of conviction you are challenging:

United States District Courthouse, 101 W. Lombard Street, Baltimore Md. 21201
' : CLR-\A-2BD

(b) Criminal] docket or case number (if you know): 1:17-cr-00631-GLR
(a) Date of the judgment of conviction Gif you know): September 25, 2018

(b) Date of sentencing: September 25, 2018
Length of sentence: (66) Sixty-six months

Nature of crime (all counts):
Violation if 18 U.S.G. /¥4(e) Willtul Retention of National Lerense Intormation

(a) What was your plea? (Check one)
(1) Not guilty 0 (2 Guilty O/ (3) Nolo contendere (no contest) O
(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count

or indictment, what did you plead guilty to and what did you plead not guilty to?,

If you went to trial, what kind of trial did you have? (Check one) dury 0 Judge only 0
 

 

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7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes 0 No GF

Did you appeal from the judgment of conviction? Yee O No QO
9. Ifyou did appeal, answer the following:

(a} Name of court:

(b} Docket. or case number Gf you know):

(c) Result:

(d) Date of result Gf you know):

(e) Citation to the case Gf you know):

(f) Grounds raised:

NIA

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes G No YY
If “Yes,” answer the following:
(1) Docket or case number (if you know):
(2) Result:

(3) Date of result (if you know):
(4) Citation to the case Gf you know):

(5) Grounds raised:

10. Other than the direct appeals listed above, have you previously filed any other motions,
petitions, or applications concerning this judgment of conviction in any court?
Yes Q No
11. If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court:
(2) Docket or case number (if you know):
(3) Date of filing Gf you know):
 

 

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(4) Nature of the proceeding:
(5) Grounds raised:

N/A

(6) Did you receive a hearing where evidence was given on your motion, petition, or
application? Yes Q No OQ
(7) Result:
(8) Date of result Gf you know):
(b) If you filed any second motion, petition, or application, give the same information:
(1) Name of court:
(2) Docket or case number (if you know):
(3) Date of filing Gif you know):
(4) Nature of the proceeding:

(5) Grounds raised:

(6) Did you receive a hearing where evidence was given on your motion, petition, or

application? Yes O No O

(7) Result:

(8) Date of result Gif you know):
(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your
motion, petition, or application?

(1) First petition: Yes OQ No O

(2) Second petition: Yes O No Q
 

 

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(a) If you did not appeal from the action on any motion, petition, or application, explain briefly

why you did not:

12. For this motion, state every ground on which you claim that you are being held in violation of the
Constitution, laws, or treaties of the United States. Attach additional pages if you have more

than four grounds. State the facts supporting each ground.

GROUND ONE:

Ineffective Assistance of Counsel : Failure to Advise of the Extent of Sentence
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Will Submit detailed Memorandum pending The District Court ruling on Attached Motion.

(b) Direct Appeal of Ground One:
(4) If you appealed from the judgment of conviction, did you raise this issue?
Yes O No &

(2) If you did not raise this issue in your direct appeal, explain why:

No Direct Appeal Filed

(c} Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes Q No &
(2) If your answer to Question (c)(1) is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:
 

 

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Docket or case number (if you know):

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?
Yes No O

(4) Did you appeal from the denial of your motion, petition, or application?
Yes O No QO

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
Yes OO No Q

(6) If your answer to Question (c){4) is “Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number Gf you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue:

GROUND TWO:
ineffective Assistance of Counsek Failure to Fully investigate the entirety of the Elements Required to Constitute

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Wil! submit detailed Memorandum once the District Court rules on motion to appoint counsel or conversely that
counsel of Record provide case relevant work product.
 

 

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(b) Direct Appeal of Ground Two:

(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes GQ No W

(2) If you did not raise this issue in your direct appeal, explain why:

No Direct Appeat Filed.

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes O Nod

(2) If your answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know}:
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?
Yes 2 No G .

(4) Did you appeal from the denial of your motion, petition, or application?
Yes No O

6) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
Yes Q No O

(6) If your answer to Question (c)}(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):
 

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(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue:

GROUND THREE:

Ineffective Assistance of Counsel
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Must have attomey work product in order to develop claim, Awaiting Court intervention as it retates to attached
Motion for appointment of counsel or conversely, provision of work product,

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(b} Direct Appeal of Ground Three: -
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes QO No &

(2) If you did not raise this issue in your direct appeal, explain why:

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes O No Q
(2) If your answer to Question (c)(1} is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):

Date of the court’s decision:

 
 

 

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Result (attach a copy of the court’s opinion or ordey, if available):

(3) Did you receive a hearing on your motion, petition, or application?
Yes No QO

(4) Did you appeal from the denial of your motion, petition, or application?
Yes O No Q

(5) If your answer to Question (c){4) is “Yes,” did you raise this issue in the appeal?
Yes OQ No Q

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue:

GROUND FOUR: -
Ineffective assistance of counsel

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

See Above. Await disposition of provision of attorney work product in order to fully fleshen this record. Shall submit
amended Memorandum in support.
 

 

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ib) Direct Appeal of Ground Four:
(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes Q No @

(2) If you did not raise this issue in your direct appeal, explain why:
No direct appeal med.

{c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes O No O
(2) If your answer to Question (c)(1) is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?
Yes OO No Q

(4) Did you appeal from the denial of your motion, petition, or apphcation?
Yes O No QO

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
Yes OO No Q

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion ot order, if available):
 

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(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue:

is there any ground in this motion that you have not previously presented in some federal court?
If so, which ground or grounds have not been presented, and state your reasons for not

presenting them:

i have presented no grounds included herein in any court. 2255 is the appropriate procedural vehicle to do so in

this instance.

14. Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court

15.

for the judgment you are challenging? YesQ NoGY
If “Yes,” state the name and [ocation of the court, the docket or case number, the type of

proceeding, and the issues raised.

Give the name and address, if known, of each attorney who represented you in the following
stages of the judgment you are challenging:

{a) At preliminary hearing:

(b) At arraignment and plea:

{c) At trial:

(d} At sentencing:
 

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(e) On appeal:
(f) In any post-conviction proceeding:

(¢) On appeal from any ruling against you in a post-conviction proceeding:

Were you sentenced on more than one count of an indictment, or on more than one indictment, in
the same court and at the same time? Yes Oo No @

Do you have any future sentence to serve after you complete the sentence for the judgment that
you are challenging? Yes QNo @

(a) If so, give name and location of court that imposed the other sentence you will serve in the

future:

(b) Give the date the other sentence was imposed:
(c) Give the length of the other sentence:
(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the

judgment or sentence to be served in the future? Yes GQ No O
 

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18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you

must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not
bar your motion.*

Upon information and betiet, nis motion as tiled 1s timely Nowever such snail require detaked amending and
memorandum in support once the District Court makes a determination with regards to the attached motion fc
appointment of counsel due to the sensitive nature and the classified material that intertwines with the
requested work product that is requisite in order to fully develop this claim.

 

* The Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA”) as contained in 28 U.S.C.
§ 2255, paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period
shall run from the latest. of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in
violation of the Constitution or laws of the United States is removed, if the movant was
prevented from making such a motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if
that right has been newly recognized by the Supreme Court and made retroactively
applicable to cases on collateral review; or
(4) the date on which the facts supporting the claim or claims presented could have been
discovered through the exercise of due diligence.

 
 

 

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Therefore, movant asks that the Court grant the following relief:
Petitioner request Mat tng Court appoint counsel in this matter in orcer to review the Giassined matenal with Feunone
and determinwe the extent of any constitutional violations that may exisist. {Petitiomner request that counsel assist ir
identification thereof any errors and development of any claims or conversely that said material be provided to

or any other relief to which movant may be entitled.

 

Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
and that this Motion under 28 U.S.C. § 2255 was placed in the prison mailing system on
(month, date, year).

Executed (signed) on 09/6/2019 (date).

eae

Signature of Movant

If the person signing is not movant, state relationship to movant and explain why movant is not

signing this motion.

 
